                                                                                     Writer’s Direct Contact:

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February 5, 2023

Attorney Kiley Zellner
Attorney Jasmyne Baynard
Wirth & Baynard
9898 West Bluemound Road, Suite 2
Wauwatosa, WI 53226                                                    VIA EMAIL ONLY


        RE:      US District Court for the Eastern District of WI: Case No: 20 CV 1660
                 Knowlton, et al v. City of Wauwatosa, et al.

Dear Counsel:

We write in response to your correspondence of January 30, 2023.

A “safe harbor” letter is required per Rule 11 in order to provide the opportunity for counsel to
withdraw an offending document, or otherwise make any corrections because the alleged
sanctionable conduct was a good faith error.

Your correspondence confirms that you do not agree with the motion, and thus, we understand that
you do not acknowledge any good faith error, or that any of the misrepresentations were
unknowing or unintentional.

As to your inquiries, we encourage you to review the brief supporting the motion more carefully,
as well as Plaintiffs’ Response to Defendants’ motion for summary judgment. The referenced
brief establishes the basis upon which the Court can clearly find that the deliberate
misrepresentations continue a pattern and practice by Defendants that intentionally undermines the
integrity of the judicial process in purposefully misleading the Court. It is expected, and critical
to the functioning of the adversarial model, that you do your own work to support your alleged
statements. Thank you.

Very truly yours,
KNOWLTON LAW GROUP, LLC

    Kate Knowlton
Kathryn L. Knowlton
cc: Co-Counsel of Record, via email only

_____________________________________________________________________________________________________________________
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